       Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 1 of 63 Page ID #:120

 Alfred McZeal, Jr.
 FULL NAME


 COMMITTED NAME (if different)

  2620 Fashion Avenue                                                                   06-20-2024
 FULL ADDRESS INCLUDING NAME OF INSTITUTION

  Long Beach, Ca. 90810                                                                          ts

 PRISON NUMBER (if applicable)




                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
    Alfred McZeal Jr.,                                            CASE NUMBER
                                                                                    8:24-cv-00088-RGK-PD
                                                                                          To be supplied by the Clerk
                                                  PLAINTIFF,
                                                                                  FIRST AMENDED
                                  v.
    City of Tustin, et al.,                                                 CIVIL RIGHTS COMPLAINT
                                                                                PURSUANT TO (Check one)
                                                                  G 42 U.S.C. § 1983
                                              DEFENDANT(S).
                                                                  G Bivens v. Six Unknown Agents 403 U.S. 388 (1971)

A. PREVIOUS LAWSUITS

    1. Have you brought any other lawsuits in a federal court while a prisoner: G Yes          G No

    2. If your answer to “1.” is yes, how many?             N.A

          Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
          attached piece of paper using the same outline.)




                                                   CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                            Page 1 of 6
      Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 2 of 63 Page ID #:121
         a. Parties to this previous lawsuit:
            Plaintiff                                                N/A

               Defendants N/A


         b. Court N/A


         c. Docket or case number N/A
         d. Name of judge to whom case was assigned N/A
         e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
               appealed? Is it still pending?)
         f.    Issues raised: N/A




         g. Approximate date of filing lawsuit: n/a
         h. Approximate date of disposition N/A


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

    1. Is there a grievance procedure available at the institution where the events relating to your current complaint
       occurred? G Yes G No

    2. Have you filed a grievance concerning the facts relating to your current complaint? G Yes                          G No

         If your answer is no, explain why not This is no agency to address the type of private complaint
          that I alleged.


    3. Is the grievance procedure completed? G Yes                G No

         If your answer is no, explain why not Not Applicable



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff                              Alfred McZeal, Jr.
                                                                                               (print plaintiff's name)
    who presently resides at 2620 Fashion Avenue, Long Beach, Ca. 90810                                                                    ,
                                                                 (mailing address or place of confinement)
    were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at
                                     13152 Laburnum Dr. Tustin, Ca. 90810
                                                 (institution/city where violation occurred)


                                                      CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                                     Page 2 of 6
      Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 3 of 63 Page ID #:122


    on (date or dates)        10/11/2023                 ,     12/13/2023           ,                                .
                                    (Claim I)                      (Claim II)                   (Claim III)

    NOTE:       You need not name more than one defendant or allege more than one claim. If you are naming more than
                five (5) defendants, make a copy of this page to provide the information for additional defendants.

    1. Defendant The City of Tustin                                                                   resides or works at
                    (full name of first defendant)
                     300 Centennial Dr.
                    (full address of first defendant)
                     Tustin, Ca. 92780
                    (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both): G individual       G official capacity.

         Explain how this defendant was acting under color of law:
          Defendant Dispatched the police at plaintiff private property during an unlawful Warrantless Search and
          Seizure of Plaintiff's Premises .


    2. Defendant Brad Steen, Employee                                                                 resides or works at
                    (full name of first defendant)
                     300 Centennial Dr.
                    (full address of first defendant)
                     Tustin, Ca. 92780
                    (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both): G individual       G official capacity.

         Explain how this defendant was acting under color of law:
         Defendant was acting under color law in unison with the City when it dispatched its Police Department

          at plaintff's home on 10/111/23 and Caused when making a Criminal Complaint against plaintiff on 12/13/2023.

    3. Defendant Nicolas Hutchins                                                                     resides or works at
                    (full name of first defendant)
                     555 Anton Blvd
                    (full address of first defendant)
                     Costa Meca, Ca. 92626-7670
                    (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both): G individual       G official capacity.

         Explain how this defendant was acting under color of law:
          Defendant was acting under color of law in unison with the City when it dispatched it Police Dept.
          on 10/11/23 and 12/13/2023 to execute a warrantless search and illegal pat down, and false arrest

          Defendant also acted under color of law by the filing of an unjust criminal complaint against plaintff
          in order to harass plaintiff, under the guise of a mere city infraction




                                                         CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                         Page 3 of 6
      Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 4 of 63 Page ID #:123


    4. Defendant Jason M. McEven                                                                     resides or works at
                    (full name of first defendant)
                     555 Anton Blvd, Suite 1200
                    (full address of first defendant)
                     Costa Meca, Ca. 92626-7670
                    (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both): G individual       G official capacity.

         Explain how this defendant was acting under color of law:
         Defendant was acting under color of law in unison with the City when it dispatched its police Dept

          on 10/11/20 amd 12/12/2023 toexecute a warrantless search and illegal pat down, and false arrest.

    5. Defendant Woodrruff, Spradin, and Smart, APC                                                  resides or works at
                    (full name of first defendant)
                     555 Anton Blvd, Sutie 1200
                    (full address of first defendant)
                     Costa Meca, Ca. 92626-7670
                    (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both): G individual       G official capacity.

         Explain how this defendant was acting under color of law:
         Defendant was acting under color of Law in Uniso With the City with it dispatched the Tustin Police

          Departmjent to 13152 Laburnum Dr. Tustin, Ca. to execute a Warrentless search and illegal

          patdown, false arres, and invasion of Privacy.which occurrect on 10/11/2023.


          Defendant was also acting under color of law with it paticiapted in a scheme to harass plaintiff
          with a private Criminal complaint but without due process of law.




                                                         CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                        Page 4 of 6
      Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 5 of 63 Page ID #:124

D. CLAIMS*
                                                         CLAIM I
    The following civil right has been violated:
     1. Fourth Amendment Rights - to be free from illegal searches


     2. Fourth Amendment (False Arrest

     3. 14th Amendment (Due Process)


     4. 14th Amendment (Right To Privacy)


     5. 42 USC 1981 Interference with Contracts

     6. 42 USC 1985 Conspiracy to Interfere with Civil Rights




    Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
    citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
    DEFENDANT (by name) did to violate your right.



     see attached SUPPLEMENTAL PLEADINGS FOR COMPLETE FACTUAL BASIS.




    *If there is more than one claim, describe the additional claim(s) on another attached piece of paper using the same
    outline.


                                                   CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                     Page 5 of 6
      Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 6 of 63 Page ID #:125


    4. Defendant                                                                                     resides or works at
                    (full name of first defendant)


                    (full address of first defendant)


                    (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both): G individual       G official capacity.

         Explain how this defendant was acting under color of law:




    5. Defendant                                                                                     resides or works at
                    (full name of first defendant)


                    (full address of first defendant)


                    (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both): G individual       G official capacity.

         Explain how this defendant was acting under color of law:




                                                         CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                        Page 4 of 6
      Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 7 of 63 Page ID #:126

E. REQUEST FOR RELIEF

    I believe that I am entitled to the following specific relief:


          SEE ATTACHED SUPPLEMENTAL COMPLAINT FOR PRAYER.




      SEE ATTACHED SUPPLEMENTAL PLEADINGS




     JUNE 20, 2024                                                                           AlfredMcZeal, Jr.
                  (Date)                                                (Signature of Plaintiff)




                                                   CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                            Page 6 of 6
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 8 of 63 Page ID #:127

                                      1

                      SUPPLEMENTAL PLEADINGS

                                INTRODUCTION

      1. Plaintiff Alfred McZeal, Jr. submits this First Amended

         Complaint against Defendants for violations of his civil

         rights under 42 U.S.C. §§1981, 1983, and 1985, fraud,

         Cancellation of written instruments, Invasion of privacy, and

         other wrongful actions.

      2. Plaintiff alleges that Defendants, acting under color of state

         law,   engaged    in    actions   that   deprived    him    of   his

         constitutional rights under the Fourth and Fourteenth

         Amendments, interfered with real estate contracts, and

         conspired to deprive him of his federal and state law rights.

      3. The civil rights violations occurred at Plaintiff's residence

         located at 13152 Laburnum Dr., Tustin, CA 92780 on

         December 13, 2023, and October 11, 2023. The Defendants

         are identified in two groups: the "City Defendants" and the

         "Mortgage Foreclosure Deed Fraudsters."
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 9 of 63 Page ID #:128

                                      2

                          Jurisdiction and Venue:


      4. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331

         and 1343, as this action arises under 42 U.S.C. §§ 1981,

         1983, and 1985.

      5. Venue is proper in this district pursuant to 28 U.S.C. §

         1391(b), as the events giving rise to the claims occurred in

         this district.


                                   Parties:


      6. Plaintiff Alfred McZeal, Jr. is an African American and a

         resident of Houston, Texas.

      7. Defendant City of Tustin is a municipal corporation in

         California.

      8. Defendant Brad Steen is an employee with the City of Tustin.

      9. Defendant Nicholas A. Hutchins is employee with WoodRuff

         & Smart, APC.

      10.    Defendant WoodRuff & Smart, APC is a law firm located

         in Costa Mesa, California.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 10 of 63 Page ID #:129

                                       3

                             Defendant Groups:

      11.      Defendants City of Tustin, Brad Steen, Nicholas A.

         Hutchins, WoodRuff & Smart, APC, Jason M. McEwen, Jane

         Doe (Police Officer 1), Mary Doe (Police Officer 2), and John

         Doe (Police Officer 3) are collectively referred to as the "City

         Defendants."

      12.      Defendants Andrew Kilburn, Paige Kilburn, CVSBA, LLC,

         and     Matt   Regan    are   referred   to   as   the   "Mortgage

         Foreclosure Deed Fraudsters."

      13.      Defendant Jason M. McEwen is employee with WoodRuff

         & Smart, APC.

      14.      Defendant Andrew Kilburn is a resident of California.

      15.      Defendant Paige Kilburn is a resident of California.

      16.      Defendant CVSBA, LLC is a limited liability company.

      17.      Defendant Matt Regan is a resident of California.

      18.      Defendant Jane Doe (Police Officer 1) is an officer with

         the Tustin Police Department.

      19.      Defendant Mary Doe (Police Officer 2) is an officer with

         the Tustin Police Department.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 11 of 63 Page ID #:130

                                       4

         20.      Defendant John Doe (Police Officer 3) is an officer

                        with the Tustin Police Department.


                Claims Asserted Against the City Defendants

      21.       Plaintiff Alfred McZeal, Jr. asserts the following claims

         against the City Defendants, which include the City of

         Tustin, Brad Steen, Nicholas A. Hutchins, WoodRuff &

         Smart, APC, Jason M. McEwen, Jane Doe (Police Officer 1),

         Mary Doe (Police Officer 2), and John Doe (Police Officer 3):


   Violation of Fourth Amendment Rights (Unlawful Search and
                            Seizure):

            o   22. Conducting an unlawful search and seizure of

                Plaintiff’s property without a warrant, probable cause, or

                consent.


        Violation of Fourth Amendment Rights (False Arrest):

            o   23. Falsely arresting Plaintiff without a warrant, probable

                cause, or consent.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 12 of 63 Page ID #:131

                                       5

     Violation of Fourteenth Amendment Rights (Due Process):

           o   24. Depriving Plaintiff of his liberty and property without

               due process of law.


   Violation of Fourteenth Amendment Rights (Right to Privacy):

                 25. Unlawfully invading Plaintiff’s home and seizing his

                     property.


                            Invasion of Privacy:

           o   Intruding upon Plaintiff's seclusion and private affairs by

               conducting an unlawful search and seizure.


  Violation of 42 U.S.C. §1985 (Conspiracy to Interfere with Civil
                             Rights):

           o   26. Conspiring to deprive Plaintiff of his federal and state

               law rights, including his right to equal protection under

               the laws.


     Violation of 42 U.S.C. §1981 (Interference with Contractual
                              Relations):

           o   27. Interfering with real estate contracts that were

               pending at the time, based on Plaintiff's race.

           o
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 13 of 63 Page ID #:132

                                       6

                          Declaratory Judgment:

           o   28. Seeking a declaratory judgment that the acts of the

               City Defendants were illegal and violated Plaintiff’s civil

               rights under federal law.


  XIV. Claims Asserted Against the Mortgage Fraud Defendants


     29. Plaintiff Alfred McZeal, Jr. asserts the following claims

  against the Mortgage Fraud Defendants, which include Andrew

  Kilburn, Paige Kilburn, CVSBA, LLC, and Matt Regan:


                                    XV. Fraud:


     30. The Mortgage Fraud Defendants knowingly made false

         representations and forged documents to deceive Plaintiff

         and other parties.

     31. These fraudulent actions resulted in financial harm and

         deprivation of Plaintiff’s property rights.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 14 of 63 Page ID #:133

                                       7

                    Cancellation of Written Instruments:

           a. The    Mortgage    Fraud     Defendants   recorded    multiple

             fraudulent deeds against the subject property.

           b. Plaintiff seeks a court order canceling these fraudulent

             written instruments under California Civil Code § 3412.


  Violation of 42 U.S.C. §1985 (Conspiracy to Interfere with Civil
                             Rights):

           c. The Mortgage Fraud Defendants conspired with the City

             Defendants to deprive Plaintiff of his federal and state law

             rights, including his right to equal protection under the

             laws.

           d. As a result of the conspiracy, Plaintiff suffered emotional

             distress, invasion of privacy, false arrest, and the

             deprivation of his property rights.


    Violation of 42 U.S.C. § 1981 (Interference with Contractual
                              Relations):

           e. The Mortgage Fraud Defendants interfered with real

             estate contracts that were pending at the time, based on

             Plaintiff's race.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 15 of 63 Page ID #:134

                                       8

           f. As a result of this interference, Plaintiff suffered financial

             loss and damage to his business and property interests.


                          Declaratory Judgment:

           g. Plaintiff seeks a declaratory judgment that the acts of the

             Mortgage Fraud Defendants were illegal and violated

             Plaintiff’s civil rights under federal law.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 16 of 63 Page ID #:135

                                       9

                          STATEMENT OF FACTS



     32. On December 13, 2023, Plaintiff Alfred McZeal, Jr. was at his

         residence located at 13152 Laburnum Dr., Tustin, CA 92780.

     33. Officers from the Tustin Police Department, including Jane

         Doe (Police Officer 1), Mary Doe (Police Officer 2), and John

         Doe (Police Officer 3), conducted a warrantless search and

         seizure of Plaintiff's private property.

     34. During the unlawful invasion, Plaintiff was falsely arrested by

         the officers.

     35. The incident was captured on Plaintiff’s Ring Doorbell

         Security Camera and the police officers’ body cameras.

     36. Several persons have remotely witnessed the Doorbell video

         of December 13, 2023.

     37. The officers did not have a warrant, probable cause, or

         Plaintiff’s consent to enter the property, conduct the search,

         or make the arrest.

     38. As a result of the unlawful search, seizure, and arrest,

         Plaintiff suffered emotional distress, invasion of privacy, and

         damage to his reputation.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 17 of 63 Page ID #:136

                                      10

     39. On October 11, 2023, the Mortgage Foreclosure Deed

         Fraudsters, acting under color of law with the Tustin Police

         Department,       orchestrated    the    civil   rights    violation

         complained of in an attempt to oust Plaintiff from the

         property under the color of law.

     40. The Mortgage Foreclosure Deed Fraudsters utilized the

         Tustin Police Department to harass, deprive, and disturb the

         peace of Plaintiff at the property located at 13152 Laburnum

         Dr., Tustin, CA.

     41. The Mortgage Foreclosure Deed Fraudsters illegally evicted

         Plaintiff from the premises and recorded multiple fraudulent

         deeds against the subject property.

     42. The    Mortgage    Foreclosure    Deed    Fraudsters      committed

         financial crimes resulting in the deprivation of Plaintiff’s

         rights.

     43. Plaintiff, an African American, alleges that the Defendants'

         actions were also motivated by racial discrimination.

     44. Defendants conspired to deprive Plaintiff of his federal and

         state law rights in violation of 42 U.S.C. § 1985.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 18 of 63 Page ID #:137

                                      11

     45. The Doorbell video of December 13, 2023, along with the

         police report, will be sufficient to support Plaintiff's claim of

         harassment by the Defendants.

     46. Defendants also violated 42 U.S.C. § 1981 by interfering with

         real estate contracts that were pending at the time.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 19 of 63 Page ID #:138

                                      12

                                   Claims:

     47. Plaintiff asserts Claims I through IX against the City

         Defendants, collectively and individually. Plaintiff asserts

         Claims 1 through XII against the Mortgage Foreclosure Deed

         Fraudsters, and Claims XIII and a claim for quiet title against

         the Mortgage Foreclosure Deed Fraudsters.


      Claim I: Violation of Fourth Amendment Rights (Unlawful
             Search and Seizure) Against All Defendants

     48. Plaintiff incorporates by reference all preceding paragraphs

         as though fully set forth herein.

     49. The Fourth Amendment to the United States Constitution

         protects individuals against unreasonable searches and

         seizures by the government.

     50. City Defendants, acting under color of state law, violated

         Plaintiff’s Fourth Amendment rights by conducting an

         unlawful search and seizure of his property without a

         warrant, probable cause, or consent.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 20 of 63 Page ID #:139

                                      13

   Claim II: Violation of Fourth Amendment Rights (False Arrest)

     51. Plaintiff incorporates by reference all preceding paragraphs

         as though fully set forth herein.

     52. The    Fourth    Amendment        protects   individuals    against

         unreasonable seizures, including false arrests.

     53. City Defendants, acting under color of state law, violated

         Plaintiff’s Fourth Amendment rights by falsely arresting him

         without a warrant, probable cause, or consent.


     Claim III: Violation of Fourteenth Amendment Rights (Due
                               Process)

     54. Plaintiff incorporates by reference all preceding paragraphs

         as though fully set forth herein.

     55. The    Fourteenth      Amendment       to    the   United    States

         Constitution guarantees that no person shall be deprived of

         life, liberty, or property without due process of law.

     56. City Defendants, acting under color of state law, violated

         Plaintiff’s Fourteenth Amendment rights by depriving him of

         his liberty and property without due process.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 21 of 63 Page ID #:140

                                      14

   Claim IV: Violation of Fourteenth Amendment Rights (Right to
                               Privacy)

     57. Plaintiff incorporates by reference all preceding paragraphs

         as though fully set forth herein.

     58. The Fourteenth Amendment protects individuals’ rights to

         privacy.

     59. City Defendants, acting under color of state law, violated

         Plaintiff’s right to privacy by unlawfully invading his home

         and seizing his property.


        Claim V: Invasion of Privacy (Against City Defendants)

     60. Plaintiff incorporates by reference all preceding paragraphs

         as though fully set forth herein.

     61. City Defendants intruded upon Plaintiff's seclusion and

         private affairs by conducting an unlawful search and seizure

         of his property.

     62. This intrusion was highly offensive to a reasonable person

         and caused Plaintiff emotional distress and harm.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 22 of 63 Page ID #:141

                                      15

  Claim VI: Violation of 42 U.S.C. § 1985 (Conspiracy to Interfere
            with Civil Rights) (Against City Defendants)

     63. Plaintiff incorporates by reference all preceding paragraphs

         as though fully set forth herein.

     64. Plaintiff is an African American and a member of a protected

         class.

     65. City Defendants conspired to deprive Plaintiff of his federal

         and state law rights, including his right to equal protection

         under the laws, in violation of 42 U.S.C. § 1985.

     66. As a result of the conspiracy, Plaintiff suffered emotional

         distress, invasion of privacy, false arrest, and the deprivation

         of his property rights.


     Claim VII: Violation of 42 U.S.C. § 1981 (Interference with
          Contractual Relations) (Against City Defendants)

     67. Plaintiff incorporates by reference all preceding paragraphs

         as though fully set forth herein.

     68. 42 U.S.C. § 1981 prohibits racial discrimination in the

         making and enforcement of contracts.

     69. City Defendants interfered with real estate contracts that

         were pending at the time, based on Plaintiff's race.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 23 of 63 Page ID #:142

                                      16

     70. As a result of this interference, Plaintiff suffered financial loss

               and damage to his business and property interests.


     Claim XIII: Declaratory Judgment (Against All Defendants)

     71. Plaintiff incorporates by reference all preceding paragraphs

         as though fully set forth herein.

     72. An actual controversy has arisen and now exists between

         Plaintiff and Defendants concerning their respective rights

         and duties. Plaintiff contends, and is informed and believes,

         that Defendants acted unlawfully and violated Plaintiff’s

         constitutional and statutory rights, while Defendants deny

         these allegations.

     73. Plaintiff seeks a declaratory judgment pursuant to 28 U.S.C.

         §§ 2201 and 2202, declaring that:

     74. a. Defendants’ actions on December 13, 2023, and October

         11, 2023, as described herein, violated Plaintiff’s Fourth

         Amendment rights against unlawful search and seizure. b.

         Defendants’ actions on December 13, 2023, and October 11,

         2023,    as   described    herein,   violated   Plaintiff’s   Fourth

         Amendment rights against false arrest.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 24 of 63 Page ID #:143

                                      17

     75. c. Defendants’ actions on December 13, 2023, and October

         11, 2023, as described herein, violated Plaintiff’s Fourteenth

         Amendment rights to due process of law.

     76. d. Defendants’ actions on December 13, 2023, and October

         11, 2023, as described herein, violated Plaintiff’s Fourteenth

         Amendment rights to privacy.

     77. e. Defendants’ actions on December 13, 2023, and October

         11, 2023, as described herein, constituted an invasion of

         Plaintiff’s privacy. f. Defendants conspired to interfere with

         Plaintiff’s civil rights in violation of 42 U.S.C. § 1985. g.

         Defendants interfered with Plaintiff’s contractual relations in

         violation of 42 U.S.C. § 1981.

     78. h. Defendants engaged in fraudulent activities against

         Plaintiff, including the recording of multiple fraudulent

         deeds. i. Defendants’ actions caused Plaintiff to suffer

         emotional distress, financial loss, damage to his property

         interests, and the deprivation of his rights.

     79. Plaintiff also seeks a permanent injunction restraining

         Defendants      from     engaging     in    the    unlawful     and

         unconstitutional actions described herein and compelling
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 25 of 63 Page ID #:144

                                      18

         Defendants to take corrective measures to prevent further

         violations of Plaintiff’s rights.

     80. Plaintiff further seeks an order canceling the fraudulent

         written instruments recorded against Plaintiff’s property,

         pursuant to California Civil Code § 3412.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 26 of 63 Page ID #:145

                                        19



                             PRAYER FOR RELIEF

     WHEREFORE, Plaintiff Alfred McZeal, Jr. respectfully requests

  that this Court enter judgment in his favor and against all

  Defendants, and grant the following relief:


                          Declaratory Judgment:

           o   A declaration that Defendants’ actions on December 13,

               2023, and October 11, 2023, violated Plaintiff’s Fourth

               Amendment rights against unlawful search and seizure.

           o   A declaration that Defendants’ actions on December 13,

               2023, and October 11, 2023, violated Plaintiff’s Fourth

               Amendment rights against false arrest.

           o   A declaration that Defendants’ actions on December 13,

               2023,   and    October    11,   2023,    violated   Plaintiff’s

               Fourteenth Amendment rights to due process of law.

           o   A declaration that Defendants’ actions on December 13,

               2023,   and    October    11,   2023,    violated   Plaintiff’s

               Fourteenth Amendment rights to privacy.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 27 of 63 Page ID #:146

                                       20

           o   A declaration that Defendants’ actions on December 13,

               2023, and October 11, 2023, constituted an invasion of

               Plaintiff’s privacy.

           o   A declaration that Defendants conspired to interfere with

               Plaintiff’s civil rights in violation of 42 U.S.C. § 1985.

           o   A declaration that Defendants interfered with Plaintiff’s

               contractual relations in violation of 42 U.S.C. § 1981.

           o   A declaration that Defendants engaged in fraudulent

               activities against Plaintiff, including the recording of

               multiple fraudulent deeds.


                               Injunctive Relief:

           o   A permanent injunction restraining Defendants from

               engaging in the unlawful and unconstitutional actions

               described herein.

           o   An order compelling Defendants to take corrective

               measures to prevent further violations of Plaintiff’s rights.

           o   An order canceling the fraudulent written instruments

               recorded    against    Plaintiff’s   property,   pursuant    to

               California Civil Code § 3412.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 28 of 63 Page ID #:147

                                       21

                          Compensatory Damages:

           o   An award of compensatory damages in an amount to be

               determined at trial for the emotional distress, financial

               loss, damage to property interests, and deprivation of

               rights suffered by Plaintiff.


                              Punitive Damages:

           o   An award of punitive damages against Defendants for

               their willful, malicious, and reckless conduct in an

               amount to be determined at trial.


                         Attorney’s Fees and Costs:

           o   An award of reasonable attorney’s fees and costs

               pursuant to 42 U.S.C. §§ 1988 and 1981, and any other

               applicable law.


                                 Other Relief:

           o   Such other and further relief as the Court deems just

               and proper.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 29 of 63 Page ID #:148

                                      22

  Respectfully submitted,



  AlfredMcZeal, Jr.
  Alfred McZeal, Jr. Plaintiff, Pro Se
  2620 Fashion Avenue
  Long Beach, CA 90810
  832-623-4418
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 30 of 63 Page ID #:149

                                          23

                                  List of Exhibits



  Exhibit 1: Forgery 1

        Interspousal Deed (Fraud) forged by Defendant Paige Kilburn.
         Demonstrates that Kilburn forged her name as a notary. Recorded on
         September 26, 2023, at 1:30 PM.

  Exhibit 2: Forgery 2

        Forged Trustee's Deed Upon Sale to Paige Kilburn, fraudulently recorded
         on September 26, 2023, at 1:39 PM for $885,000.00 in the Official
         Records of the Orange County Recorder's Office. Document Number:
         2023000233990.

  Exhibit 3: Forgery 3

        Forged Deed of Trust from Third Party CVSBA, LLC to Paige Kilburn,
         fraudulently recorded on September 26, 2023, at 1:39 PM for
         $1,500,000.00 in the Official Records of the Orange County Recorder's
         Office. Document Number: 2023000233991.

  Exhibit 4: Plaintiff's Ring Doorbell Security Camera Footage

        Video of Tustin Police violation on October 11, 2023. (To be provided at
         discovery)

  Exhibit 5: Tustin Police Department Body Camera Video

        Footage from police officers on October 11, 2023. (To be provided at
         discovery)

  Exhibit 6: Tustin Police Incident Report

        Incident report from October 11, 2023. (To be provided at discovery)

  Exhibit 7: Criminal Private Criminal Complaint

        Filed by City Defendants on December 13, 2023, against Plaintiff without
         state prosecutors, depriving Plaintiff of civil rights to be prosecuted by a
         government-authorized district attorney.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 31 of 63 Page ID #:150

                           LIST OF EXHIBITS
 1

 2   EXHIBIT 1         Forgery 1:
     4 pages           Interspousal Deed (Fraud) forged by Defendant Paige
 3
                       Kilburn. Demonstrates that Kilburn forged her name
 4                     as a notary. Recorded on September 26, 2023, at
 5
                       1:30 PM.

 6
     EXHIBIT 2         Forgery 2:
     4 pages           Forged Trustee's Deed Upon Sale to Paige Kilburn,
 7                     fraudulently recorded on September 26, 2023, at
 8                     1:39 PM for $885,000.00 in the Official Records of
                       the Orange County Recorder's Office. Document
 9
                       Number: 2023000233990
10

11   EXHIBIT 3         Forgery 3:
     21 pages          Forged Deed of Trust from Third Party CVSBA, LLC
12
                       to Paige Kilburn, fraudulently recorded on
13                     September 26, 2023, at 1:39 PM for $1,500,000.00
14
                       in the Official Records of the Orange County
                       Recorder's Office. Document Number:
15                     2023000233991
16

17

18

19

20

21

22

23

24

25

26

27

28


                                          - 1 -
                                    LIST OF EXHIBITS
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 32 of 63 Page ID #:151




                      EXHIBIT 1
                                   4 pages

                             Forgery 1:
    Interspousal Deed (Fraud) forged by Defendant Paige Kilburn.
 Demonstrates that Kilburn forged her name as a notary. Recorded on
                  September 26, 2023, at 1:30 PM.
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 33 of 63 Page ID #:152
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 34 of 63 Page ID #:153
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 35 of 63 Page ID #:154
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 36 of 63 Page ID #:155
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 37 of 63 Page ID #:156




                      EXHIBIT 2
                               4 pages
                              Forgery 2:
Forged Trustee's Deed Upon Sale to Paige Kilburn, fraudulently recorded
   on September 26, 2023, at 1:39 PM for $885,000.00 in the Official
  Records of the Orange County Recorder's Office. Document Number:
                          2023000233990
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 38 of 63 Page ID #:157
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 39 of 63 Page ID #:158
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 40 of 63 Page ID #:159
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 41 of 63 Page ID #:160
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 42 of 63 Page ID #:161




                      EXHIBIT 3
                                21 pages
                                Forgery 3:
  Forged Deed of Trust from Third Party CVSBA, LLC to Paige Kilburn,
     fraudulently recorded on September 26, 2023, at 1:39 PM for
 $1,500,000.00 in the Official Records of the Orange County Recorder's
             Office. Document Number: 2023000233991
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 43 of 63 Page ID #:162
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 44 of 63 Page ID #:163
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 45 of 63 Page ID #:164
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 46 of 63 Page ID #:165
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 47 of 63 Page ID #:166
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 48 of 63 Page ID #:167
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 49 of 63 Page ID #:168
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 50 of 63 Page ID #:169
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 51 of 63 Page ID #:170
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 52 of 63 Page ID #:171
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 53 of 63 Page ID #:172
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 54 of 63 Page ID #:173
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 55 of 63 Page ID #:174
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 56 of 63 Page ID #:175
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 57 of 63 Page ID #:176
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 58 of 63 Page ID #:177
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 59 of 63 Page ID #:178
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 60 of 63 Page ID #:179
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 61 of 63 Page ID #:180
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 62 of 63 Page ID #:181
Case 8:24-cv-00088-RGK-PD Document 18 Filed 06/20/24 Page 63 of 63 Page ID #:182
